             Case 3:22-cr-00029-DJH Document 1 Filed 03/22/22 Page 1 of 1 PageID #: 1
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AO 91 (Rev. 11/11) Criminal Complaint                                                                                 -$0(6-9,/7-5,
                                                                                                                           CLERK
                                     UNITED STATES DISTRICT COURT                                                        
                                                                  for the
                                                                                                                 U.S. DISTRICT COURT
                                                    Western District
                                                   __________        of Kentucky
                                                              District  of __________                       WESTERN DISTRICT OF KENTUCKY
                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.      0-
                         Isaiah Stoner                               )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     March 21, 2022               in the county of             Jefferson               in the
     Western           District of             Kentucky         , the defendant(s) violated:

            Code Section                                                       Offense Description
21 U.S.C. 841(a)(1)                              Possession with Intent to Distribute a Controlled Substance -Fentanyl




         This criminal complaint is based on these facts:
See attached affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                               Complainant’s signature

                                                                                   Alexander H. Sanchez, Special Agent ATF
                                                                                                Printed name and title

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Date:      0DUFK
                                                                                                  Judge’s signature

City and state:                         Louisville, Kentucky                        Colin H. Lindsay, U.S. Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                     Reset
